 Case: 1:20-cv-04518 Document #: 44 Filed: 12/01/20 Page 1 of 1 PageID #:2051

                     UNITED STATES DISTRICT COURT
           FOR THE Northern District of Illinois − CM/ECF LIVE, Ver 6.3.3
                                Eastern Division

John Doe
                                                             Plaintiff,
v.                                                                         Case No.:
                                                                           1:20−cv−04518
                                                                           Honorable John
                                                                           J. Tharp Jr.
The Individuals, Corporations, Limited Liability
Companies, Partnerships, and Unincorporated
Associations Identified on Schedule A Hereto, et al.
                                                             Defendant.



                        NOTIFICATION OF DOCKET ENTRY



This docket entry was made by the Clerk on Tuesday, December 1, 2020:


        MINUTE entry before the Honorable John J. Tharp, Jr: Plaintiff's motion for
default judgment [37] refers to an attached Amended Schedule A, which is not attached to
the document. Plaintiff is directed to file the Amended Schedule A on the docket,
reflecting the defendants who have been granted an extension to respond to the complaint
[43]. Mailed notice(air, )




ATTENTION: This notice is being sent pursuant to Rule 77(d) of the Federal Rules of
Civil Procedure or Rule 49(c) of the Federal Rules of Criminal Procedure. It was
generated by CM/ECF, the automated docketing system used to maintain the civil and
criminal dockets of this District. If a minute order or other document is enclosed, please
refer to it for additional information.
For scheduled events, motion practices, recent opinions and other information, visit our
web site at www.ilnd.uscourts.gov.
